Case 3:19-cv-01209-JMM Document 8 Filed 09/16/19 Page 1 of 2

IN ‘HE UNITED STATES DISTRICT COURT
FOR TITE MIDDLE DISTRICT OF PENNSYLVANIA

 

CHRISTINA PASS IMENT,
Civil Action No. 3:19-cv-01209-JMM
Plaintiff,
Honorable James M. Munley
V.
Electronically Filed

PNC BANK, N.A.,

Defendant.

 

 

S TIPULATION AND CONSENT ORDER
THIS M{ATTER having come before the Court by the agreement and

upon the joint application of the parties; and Plaintiff Christina Passiment
(“Plaintiff”) and De’ endant PNC Bank, N.A. (“PNC”) having agreed, through their
respective undersigr 2d counsel, to enter into binding arbitration of Plaintiff's claims
against PNC; and g:.od cause having been shown;

ITIS TdIS [Qt day of < on lhe , , 2019 hereby

ORDEI-ED that Plaintiff and PNC are to submit their dispute to
arbitration in accorc ance with the parties’ written agreement to arbitrate, attached
hereto; and it is furtl er

ORDE! ED that Plaintiffs claims in the above-captioned matter are
stayed pending reso! ition of her claims in arbitration; and it is further

ORDEI-ED that this matter is hereby administratively terminated.

 

 

 

 
Case 3:19-cv-01209-JMM Document 8 Filed 09/16/19 Page 2 of 2

 

IT IS SO.ORDERED.

 

JSPs. / ()
The unersigned counsel hereby consent to|the gubstance and form of

this Order, and to its immediate entry upon the do

 

 

/s/ Brett Freeman /s/ Jenny N. Perkins

Brett Freeman, Esq tire Jenny N. Perkins, Esquire

Sabatini Freeman, ].LC Ballard Spahr LLP

216 North Blakely ‘street 1735 Market Street, 51st Floor

Dunmore, PA 185° 2 Philadelphia, PA 19103

Counsel for Plainti;* Counsel for Defendant PNC Bank, N.A.
Dated: September 1 >, 2019 Dated: September 16, 2019
